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                 UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF COLORADO
 In re:                           )
                                  )
 REAL GOODS SOLAR, INC.           ) Case No. 20-11590-TBM
 EIN: XX-XXXXXXX                  )
                                  ) Chapter 7
        Debtor.                   )
                                  )

     NOTICE OF TRUSTEE’S COMBINED MOTION FOR ENTRY OF ORDER
 AUTHORIZING TRUSTEE TO: (1) ENGAGE AND COMPENSATE RECEIVABLES
    CONTROL CORPORATION EFFECTIVE THE DATE OF THIS MOTION; (2)
 SETTLE OUTSTANDING ACCOUNTS RECEIVABLE LESS THAN $25,000; AND (3)
  TAKE SUCH ACTION AS IS NECESSARY TO OBTAIN SUBSIDIARY APPROVAL
                       CONSISTENT HEREWITH


                           OBJECTION DEADLINE: MAY 11, 2020

        YOU ARE HEREBY NOTIFIED that Jeanne Y. Jagow, as chapter 7 Trustee (“Trustee”)
for the bankruptcy estate of Real Goods Solar, Inc. (“Debtor”), filed Trustee’s Combined Motion
for Entry of Order Authorizing Trustee to: (1) Employ and Compensate Receivables Control
Corporation Effective the Date of this Motion; (2) Settle Outstanding Accounts Receivable less
than $25,000; and (3) Take Such Action as is Necessary to Obtain Subsidiary Approval Consistent
Herewith (the “Motion”) with the Bankruptcy Court.

       On March 5, 2020, Debtor filed for relief under chapter 7, title 11 of the United States
Code. Trustee is the duly appointed and acting Chapter 7 trustee of the bankruptcy estate of Debtor.

        Debtor’s original business consisted of the sale and installation of solar energy systems.
Debtor’s primary customers were homeowners and small commercial building owners in the
United States. Debtor and its subsidiaries offered turnkey solar services, including design,
procurement, permitting, build-out, grid connection, financing referrals and warranty work for its
customers. Trustee is informed and believes that, in some cases, Debtor or its subsidiaries entered
into leases for solar panels with its customers. In other cases, Debtor or its subsidiaries financed
its customers’ purchase and installation of the solar panels.

       In September 2017, Debtor entered into an exclusive domestic and international world-
wide Technology License Agreement with Dow Global Technologies LLC (“Dow”) pursuant to
which Debtor has the exclusive right to manufacture the POWERHOUSETM in-roof solar shingle
and component parts (the “Dow Agreement”). In November of 2018, Debtor received United
Laboratories (“UL”) certification for the POWERHOUSETM 3.0 solar shingles and, as required
under the Dow Agreement, began to commercialize the solar shingles. Debtor engaged third-party
manufacturers to manufacture and assemble component parts for the POWERHOUSETM solar
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shingles. Debtor’s business plan was to sell the POWERHOUSE™ solar shingles to homebuilders
and develop a network of authorized roofers.

         On Schedule A/B, Debtor listed $2,693,015.00 in outstanding accounts receivable owed
by its residential and commercial customers (the “Accounts Receivable”). Trustee is informed and
believes that a portion of the Accounts Receivable may be owned by wholly-owned subsidiary or
subsidiaries of the Debtor. Trustee is further informed and believes that all of Debtor’s subsidiaries
ceased operating on the Petition Date and that any subsidiary that may own a portion of the
Accounts Receivable have value to the estate if able to collect on its Accounts Receivable.

        Under 11 U.S.C. § 704, Trustee is charged with collecting and reducing to money the
property of the bankruptcy estate. Therefore, Trustee intends to pursue collection of the Accounts
Receivable. Simultaneously, herewith, Trustee is filing a motion to retain as an independent
contractor, one of Debtor’s former employees, to assist in document and data collection relating
to the Accounts Receivable and other matters related to Debtor’s and the subsidiaries’ businesses.
In addition, Trustee desires to employ Receivables Control Corporation (“RCC”) to assist Trustee
in pursuing and collecting the Accounts Receivable owned by Debtor and its subsidiaries pursuant
to the terms of the Summary Agreement attached to the Motion as Exhibit A.

        Pursuant to the Summary Agreement: (i) RCC shall be entitled to a contingency
commission on any and all amounts collected on the Accounts Receivable, whether owned by
Debtor or a subsidiary, at the rate of 25% of funds collected on the Accounts Receivable for more
than $400 and $100 for funds collected on the Accounts Receivable of $400 or less; and (ii) RCC
shall be entitled to reimbursement for reasonable costs and expenses incurred by RCC relating to
collection of the Accounts Receivable, including but not limited to travel expenses preapproved
by Trustee.

        In the Motion, Trustee also requests: (i) authority to settle Accounts Receivable owing by
any one customer in any amount in the aggregate of $25,000 or less; and (ii) authority to take such
action as is necessary to obtain subsidiary approval of the employment and compensation of RCC
consistent with the terms of the Summary Agreement.

       If you oppose the Motion or object to the requested relief, your objection and request for
hearing must be filed on or before the objection deadline stated above, served on the movant at the
address indicated below, and must state clearly all objections and any legal basis for the objections.
The Court will not consider general objections.

        In the absence of a timely, substantiated objection and request for hearing by an interested
party, the Court may approve or grant the requested relief without any further notice to creditors or
other interested parties.




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Dated: April 20, 2020             Respectfully submitted,

                                  ONSAGER | FLETCHER | JOHNSON LLC

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